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Case: 1:10-cv-06114 Document #: 86-5 Filed: 04/23/12 Page 1 of 30 PagelD #:347

Reno vs. City of Chicago
40 CV 6114

Deposition of: Officer Keith Harris

Taken on: August 03, 2011

Reno ws, City of Chicaga
Cflicer Keith Harris - 08/03/2041

 

Page 1

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

MICHAEL RENO, )
Plaintifé, }
vs, } Mo. 10 CV 06114
City of Chicago Police Officer }
KEITH HARRIS, Star #19542, }
City of Chicago Police Officer }
JEROME HOFFMAN, Star #19120, }
City of Chicago Police Officer }
SHAAR, City of Chicago Police }
Officer NELSON GONZALEZ, Star }

#7235, and the CITY OF }
CHICAGS, )
Defendants. )

The deposition of GFFICER KEITH HARRIS,
called by the Plaintiff for examination, taken
pursuant te notice and by the provisions of the

Rules of Civil Procedure for the United States

 

 

 

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Reno vs, City of Chicago
Officer Keith Hanis - 08/03/2011 Page 2

 

District Courts pertaining to the taking of
depositions, taken before June M, Funkhouser, CSR
No. 084-603024, RMR, a Notary Public within and for
the County of Kane, State of Illinois, and a
Certified Shorthand Reporter of said State, at the
offices of Ed Fox & Associates, 300 West Adams
Street, Suite 339, Chicago, Illinois, on August 3,

2011, commencing at 1:15 p.m.

 

 

 

Rano vs, City of Chicago
Officar Keith Harris - 08/03/2011 Page 3

 

APPEARANCES :

ED FOX & ASSOCIATES
BY: MR. ED FOX
300 West Adams Street, Suite 330
Chicago, Illincis 60606
312.345.8877

on behalf of the Plaintiff;

CUISINIER, FARAHVAR & BENSON, LTD.
BY; MS. VICTORIA R. BENSON,

200 West Adams Street, Suite 430
Chicage, Illinois 60606
312.634.0412

on behalf of the Defendants.

 

DEFENDANT'S
EXHIBIT

 

 
Case: 1:10-cv-06114 Document #: 86-5 Filed: 04/23/12 Page 2 of 30 PagelD #:348

Reno vs, City of Chicaga Reno va, City of Chicago

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Officer Keith Haris - 06/03/2041 Page 4 Officer Keith Maris - 08/03/2011 Page 6
INDEX 1 If you don't understand a question,
2 feel free to say I don't understand your question,
WITNESS: Page 3 repeat or rephrase it. If you didn't hear me, same
OPFICER KEITH HARRIS 4 thing, ask me to repeat or rephrase it.
Direct Examination by Mr. Fox 5 5 Also, if you want co take a break for
6 any yeason, we're not in the middle of a question,
7 feel free to say so; you can do that. And also,
EXHIBITS 8 I'll just ask you when you answer questions make
9 sure you do it audibly because nods of the head and
Harria Exhibit Ne. Page 10 things like that don’t work, okay?
1 {Narcotics Section Supplementary Report) 82 11 THE WITNESS: Yes.
2 (Property Inventory Report} 83 12 MR. FOX: And also, try to wait for me to
3 {Warcotics Section Supplementary Report) 88 13 be done with my question before you answer, and
4 (Raid Activity Summary Report) a9 14 likewise I'1] try to wait for you to be done with
5 {1505 Prerecorded Funds Sheet) 30 15 your answer before I ask the next question so we
6 (Inventory Report for Prerecorded Funds} $1 16 gan have a clear record, ckay?
7 (Contact Analysis Report) 93 17 THE WITNESS: Okay.
8 (Chicago Police Department 18 BY MR. FOX:
Debriefing Report) 95 19 Q All right. In preparation for this
9 {Lab Report} 96 290 deposition today what did you review, if anything?
10 (Evidence of Purchase/Official Advance 21 A My narcotics purchasing report.
Fund} 93 22 Q Gkay. And you wrote that?
23 A Yes.
24 2 All vight. Anything else?
wr a
Beier eur Hanes aBibaie011 Page 5 Sitear Heth tlanis- oot032091 Page 7
{Whereupon the witness was 1 A The transcript.
duly sworn.} 2 Q The criminal trial transcript?
OFFICER KEITH HARRIS 3 A Yes.
one of the Defendants herein, called by the 4 a Anything else?
Plaintiff for examination, having been first duly 5 A That was it.
sworn, was examined and testified as follows: 6 9 Okay. Did you -- there were other
DIRECT EXAMINATION 7 reports written, you're aware of that, in
BY MR. FOX; 8 connection with the arrest of Michael Reno?
Q Okay. Could you state your name and 9 A Yes.
spell your name for the record, please? 10 Qo Did you review any of those other reports
A Officer Keith darris, H-a-r-r-i-s. 11 within the last week?
MR. FOX: All right. For the record, 12 A No.
this is the deposition of Officer Harris being 13 ° Did you talk -- outside the presence of
taken pursuant to notice and pursuant to all the 14 your attorney, did you talk with any of the other
applicable Federal Rules of Civil Procedure. 15 three officers that were involved in the arrest of
Have you ever had your deposition 16 Michael Reno?
taken before? 17 A No.
THE WITNESS: No, 18 2 All right. Wow, are you currently a
MR. FOX: All right. I'm going to -- 19 Chicago police officer?
what I’m going to do is ['m going to ask you a 20 A Yes.
series of questions and then you answer to the hest 21 o How long?
of your ability. The oath you take in here is the 22 A Approximately 15 and a half years.
same oath you take in a court of law, so the same 23 Q Okay. Did you review your answers to
penalties of perjury apply. 24 interrogatories?

 

 

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Officer Kaith Haris - 08/03/201+ Page §

A What was the question?

Q Answers to interrogatories, questions?

wR Yeah, That's what I was referring to
when I mentioned transcript. If that's what that
is, yes.

a Okay. There's questions that were --
interrogatories that were questions that were asked
of you, like your police background and se forth.

A oh.

Q Which is different than the criminal
trial transcript.

A Gh, no. I don't believe I saw that.

9 All right. What is your current rank and
assignment?

A Police officer.

Q Okay. In what district?

A Narcotics unit.

2 Do you work out of any particular
district?

A We work Area 2.

9 Okay. How long have you been on that
assignment?

A Probably ‘09 for Area 2.

9 Okay. And what did you do before that?

Bin ait Hanis Teow2011 Page 3

 

A Several different areas. Area l.

Q Okay. Were you always -- how long have
you been in the narcetics unit?

A Well, I got in narcotics in '09. No, I'm

sorry. Take that back. '99.

Q All right. So at the time of the arrest
ef Reno, you were working in the narcotics unit in
Area 2?
A Yee, I was.
Q All right. And then before you became a
member of the Chicago Police Department did you

work for any other police agencies?

A No, sir.

9 All right. Were you in the military?

A Yes, sir.

Q Which military?

A Navy.

Q Okay. Did you have an honorable
discharge?

A Yes.

Q And what's your highest level of

education?
A Some college.
o Okay. Did you have a major?

 

 

 

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Reno vs. Clty of Chicago

Officer Keith Harls - 08/03/2047 Page 10

 

A No.
oO All right. And how old are you? Wot
your date of birth, just your age,

A 39.

9 All right. All right. Okay. Now, there
wad -- from reading the reports there was this
thing called a surgical strike force?

Yes.
Okay. Were you a member of that?

Yes, I was.

Oo Fr Oo F

And what is that?

A That's a type of event that's passed down
from the supervisors to us informing us of a
particular day that we're going to go toa
particular area which they call hot spots, high
targeted trafficking narcotic areas, and we just
take it from there and see if we can purchase
narcotics in these said areas.

Q Is that -- the surgical strike foree, is
this something -- is there a team of persons that
comprise the surgical strike force?

A Well, it's not actually a force, so to
Speak. It's -- different teams get it at different

times. So at this particular time it was our turn

 

 

 

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Rano vs. City of Chicago.
Officer Kelth Haris - 08/03/2011 Page 11

 

 

for the particular hot spots that they had
designated for that day.

9 All right. And then how do they -- to
your knowledge how are the members for the surgical
strike force for that particular date chosen?

A They're not chosen. It's just this team.
It depends on what team. Certain teams they’11
say, okay, it's you gquys' turn, and the sergeant
will inform us, hey, we have surgical strike for
whatever day it is and they'll give us the areas of
the hot spots and they'll target those areas and
see if we can make illegal narcotic purchases from
that area.

Go So when you say "hot spots,” aiso you're
talking about areas that are known to have a lot of

narcotic transactions?

A Yes.

Q And then you referenced your team several
times. What are you referring to when you aay “our
team"?

A Oh, Well, we have a team consists of

probably eight officers, sight, maybe nine
depending on -- [ can't recall how many we had on

our team during that time. And then there's also

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‘Officer Keith Hamls - 06/03/2011

Page 12

 

other teams that are assigned with us or a -- other
teams or oné more team, and it depends on whoever
they choose to do that with us.

Q And when you say "whoever they choose to
do that with us" --

A What other team.
Q

you're referring to the surgical strike force

Right. And when you say "to do that,"

mission for that particular day?

AK Yes.

Q All xight. dnd then you said the team is
roughly eight to nine members?

A Yeah, roughly.

Go All right.

A Depending on -- it varies.

Qo All right. Do you guys work together for

did you guys work together as a team unit for any

particular period of cime? In other words, were
you with the same members of the team working
together for a certain period of time?

AR The team that I'm on, yes, we worked
consistently together.

Q

the same team that you were on when the arrest of

Okay. The team that you're on now, is it

 

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Reno vs. City of Chicago
‘Officer Keith Haris - 08/03/2014

Page 13

 

Michael Reno happened?

A Yes. There may be a few team members

that came or left, but I'm still on that same team,

yes.

Q Does the team have a name?

A Our team name -- it's not a name. It's a
number. It's a letter number. We're BS, I
believe.

2 And then this team, are all the team
members members of the narcotics unit?

A Yeas.

Q And have you been on this same team for
how long?

A I've been on this team since 2009.

QO All right. And were you on a different

team before that?

BR Before that I -- I was at the training
academy. I had left narcotics for approximately
two years, but then I came back.

2 Okay. So because you left for two years
you had to -- you went to the academy to retrain?
A No, I chose ta go there to do some

training.

Q All right. And why did you -- why did

 

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Oear Keita fae 1 Page 14
you do that?

A [ wanted to -- IT was asked by a
supervisor if I can help our with some things over
at that training academy.

Q Okay.

4‘ So I obliged to it.

Q And you said you've been with the
narcotics unit for how long?

A Came inte narcotics in ‘9S.

Q Okay. And were you always on a team, a
particular team, since 199?

A Yes.

Q Okay. And were you on more than -- you
were on a team hefore -- before 2009 you were on a
different team, I take it?

A Before 2009 that was the -- in between
that I was at the training academy, but prior to
that [I wag on other teams in narcetics.

2 Okay. How many cther teams have you been
on other than the one you were on -- other than the
one you're on now?

A I would say approximate three teams.

2 Gkay. And to your knowledge is everybody
that’s in the narcotics unit in Area 2 on a team?

@
Reno vs. City of Chicago
Officer Keith Hamls - 08/03/2011 Page 15
A Yes.
Q And just before you got on the narcotics

 

unit what was your assignment?

A I was agsigned to 1ith District Police
Department.

Q Patrol?

A Yes.

Q Okay. And then how did it happen that

you got onte the narcotics unit?

A Filled out an application.

2 And this would have been somewhere around
198 or °99 you Filled out the application?

A Yes.

9 Okay. Now, does your team currently --
well, let me ask, as of the arrest of -- as of the

Gate of the arrest of Reno did the team have a

leader, a team leader?
A No.
o B team supervisor?
A Yes.
Q Okay. And who was the team supervisor as

of the time of the arrest of Reno?
A We had Sergeant Darwin Butler.

Q Butler is B-u-t-l-e-r?

 

 
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Officer Kelth Haris - 08/09/2011 Page 16

A Yes.

Q All right. And is he still your
sergeant?

A No.

Q Who is -- when did he cease being your
sergeant roughly?

A Maybe the middle of 2000 -- probably the
summer of 2009.

9 Okay. Did he transfer to another area or
district?

A During that time, no, but now he's no
longer in the unit.

Q In the narcotic unit?

A Right.

Q Where is he now; do you know?

A I don’t know.

Q He's on the police department, though?

A Yes.

o And then you said you filled out an
application. Other than filling out the
application, was there any other process that you
had cto go through to get onto the narcotics unit?

A An interview process.

o Okay. And you were interviewed by who?

iF
Ofteor Noah Haris “08'03/2014 Page 17

A I don't remember the supervisor. It was
the supervisor of narcotics unit.

Q Would that be & sergeant or higher than a
sergeant?

A If I'm not mistaken, they're sergeants.

Q Okay. All right. Now, as I understand

it, when you're assigned to the surgical strike
unit, then what you say is -hat you go -- you're
assigned to a certain hor spot in the area and your
goal is to try and make a buy of cocaine?

A Basically, yes.

Q Okay. Is there anything wrong with what
I said or ig there more to it?

A You said "assigned to." You know, they
mention targeted areas and they don't assign us to
it, but if there's activity or they see something
that could be activity in that area, we'll) go over
there and take a look at it.

Q Okay. And then they designate that as a
surgical strike activity that day?

A Yeah, that would be a part of that
mission number for that day.

Q All right. And the missions -- these

surgical strike missions get a number?

 

 

 

 

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Rano vs. City of Chicaga
Officer Kelth Harris - 08/03/2011

Page 18

 

A I believe they do. If there is a number,
it would be on the report for that event.

Q Okay. How often -- back in March of '09
how often would you be assigned to do a surgical
strike mission on an average week or month, however
it's most convenient for you to say?

A We may get it twice a month. It could be
three times. It depends on what team that they use
to do it.

Q Okay. Why do you say “it depends on what
team" ?

A Because there are different teams in our
area, so I don't know how many teams but there are
a certain amount of teams that they pick to do the
surgical strike and depending on how much -- how
many targeted hot spots they have. Tf they have a
let, they might pick more teams. If they have just
a few that maybe one team can take care of, they
may just utilize that one team.

Q All right. And you say roughly two to
three times a month you would do something like
this?

A It's a possibility.

o Sometimes more; sometimes less?

 

 

 

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Reno vs. Clty of Chicago
Officer Kelth Harris - 08/03/2014

Paga 19

 

A It. could be less, it could be more,
depending on the néeds of the department.

o Okay. And then is the reporting that you
do following an arrest different when you're on a
surgical strike mission as opposed to when you make

an arrest and you're not on a surgical strike

mission?
A No. Same paperwork,
Q Okay. Is your supervisor different when

you do a surgical strike mission as opposed to when
you're not on a surgical strike mission?

A No.

Q All right. Wow, I read that in the
paperwork you used 1505 funds?

A Yes.

Q Which is funds where you record the
serial number, correct?

A Yes.

Q Okay. Is there anything else unique
about those funds other than the fact that you
record the serial number?

A No.

9° And they call them 1505 funds?

A Yes.

 

 

 

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Reno vs. City of Chica:

 

 

 

 

 

Offleer Keith amis = 8003/2044 Page 20

° And what does that number stand for; do
you know?

AB I don't know,

G Do you use these -~ do you use 1505 funds
when you are not doing a surgical strike mission as
well on occasion or just when you do the surgical
strike mission?

A For all nareotic buys.

a All right. And explain to me the purpose
of using 1505 funds when you do narcotic buys.

A The purpose is because it's already
recorded through the department, and that's pretty
much it.

a Ckay. And then the -- is part of the
purpose to use those funds to prove -- to find them
on the individual you do the buy from in order to
prove that he did a buy?

MS. BENSON: I'm going to object to
foundation.
Go ahead and answer, if you can.

A I don't know if it's to -- say the
question again.
BY MR. FOK:

Qo Sure. When you use -- let me preface it

fe
Cee eae ratioarz044 Page 21

 

like this. When you use 1505 funds you know what

the serial number is of those funds, correct?

A Correct.
Q Okay. And then why do you want to

know -- why do you use funds that are 1565 funds?
A Oh, Because if we're trying to locate

that offender like during a mission like this,
we'll see if they have that -- those funds on them
during the time ef arrest.

Q And that would help to prove that he
actually did the buy?

A It doesn't necessarily prove that he did
the buy because sometimes we don't get money back.
° Okay, But if he does have the money
back -- if he does have the 1505 funds on him you
mark that as evidence in the case, in the criminal

case?

A Yes.

Q And when you do use these 1505 funds, is
it your goal te try and locate these funds after
the arrest is made?

A Yes.

MS. BENSON:

Object to foundation.

Go ahead.

 

 

 

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Reno vs. City of Chicago.
‘Officer Kelth Hanis - 08/03/2041

Page 22

 

BY MR. FOX:

2 Now, who -- when you go out on a mission
or when -- I'm going to withdraw that and start
again.

When you go cut for work and you use
1905 funds, does somebody distribute them to you?
How does that work?

A We get those funds, we sign once a month.

Q And when you say you're assigned once a
month, what does that mean?

A We sign out 1505 funds once for that
month a cextain amount, and after that at the end
of the month we close out.

Q What does that mean, "clase out"?

A That means we return funds back that
weren't used.

2 Okay. So once a month you go get money,
which is -- and you note the serial numbers on it
and then you use them for the month and then you
start using a new batch of funds the following
month?

A Yes.

Q Okay. And to your knowledge are 1505

funds when they're recovered, are they used again

 

 

 

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Reno vs. City of Chicago:
‘Officer Kalth Haris - 08/03/2011

Page 23

 

in subsequent buys?
A They can be used again.
Q Okay. And when you use 1505 funds you

have paperwork tracing the use of those funds, I

take it?
A Yes,
Q And in this case for the arrest of Reno

you were the undercover officer whe did the buy; ig
that right?
A Yes,

Q So had you used 1505 funds before

arrest -- before the day that you arrested Reno?
A Yea.
Q On how many occasions roughly?
A Maybe once every day or every two days.

It depends on what they have for us to do for that
day.

Q All right. But it's something you often
do, then?

A Often, yes.

9 By the way, how often -- you've testified
in criminal cases roughly how often in your career
in court? Or if you want te tell me how many times

per month or per year that would work, too.

 

 

 

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‘Officer Keith Haris - 08/02/2014

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A Could be twice a month, three times a
menth, depending on how many cases we have.

9 Okay. And when you -- the surgical
atrike mission that you did on the day that you
arrested Reno was comprised of how many people?

A I can't remember.

Is

o AG right. it the same persons that

are on your team or dees it become different people
when you have a surgical strike miasion?

A If they utilize different teams it would
be us plus the other teams.

Q All right. But it would definitely be
your team and maybe cther teame as well?

A Yes.

3 All right. And when you do a -- now I'm
asking you generally, not just for the day you did
Reno.

And let me ask this first: Had you
done surgical strike missions before the day that

you arrested Reno?

A Yes.
g And when you do surgical strike missions
is it -- when you make an arrest of an individual,

deo you do just one arrest on that day and then

 

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Officer Keith Hanis - OB/0¥2014

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you're done and you go back and do paperwork or do

you try to make more than one arrest?

& Usually I believe it's more than one
arrest.
Q All cight. And in this particular -- as

I understood it from the testimony, there were --
in connection with Reno there were four folks

involved in his arrest; is that correct?

MS, BENSON: I'm going to object to form.
Go ahead.
A I believe go.
BY MR. FOX:
2 Okay. You have yourself, you're the

person who doses the buy; is that correct?

A Yes.

2 Okay. And then you have a person -- at
least in the case of Reno you have a person that'a
watching the whole transaction go down, correct?

A Correct.

2 And that would have been Gonzalez in this
case?

A Yes.

o All right. And then you had what I've

seen labeled as enforcement officers?

 

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Reno vs, City of Chicaga
‘Officer Keith Harris - 08/03/2014

 

 

 

 

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A Yes, sir.

o Okay. And there were two persons doing
that in this case; is that right?

A Right.

Q And that would have been Hoffman and
Shaar?

A Yes.

GQ All right. And then was there anybody
else involved?

A I'm gure there were, but they didn't play
a big part in this particular event.

Q All right. And then what is -- what
does ~- how do you label the role of Gonzalez? Is
he called the surveillance officer or something
else?

A Yes, surveillance officer.

9 All right. And then Hoffman and Shaar
are labeled as the enforcement officers?

A Correct.

Q And you're labeled as the what, the
undercover --

BR Buy cfficer.

Q Buy officer, okay.

Are there any other designations for
fy
Reno ¥s. City of Chizago
Officer Kellh Hacis - 08/03/2011 Page 27

 

people other than the enforcement officers,
surveillance officers, and buy officers that are
involved in the surgical strike mission?

A That's pretty much all the positions we
have for doing these type events.

Q All right. And then when you folks --
when you folks work on a surgical strike mission,
how do you communicate with one another?

A Nextel.

Q And are these phones, do they have phone

numbers, or how do they work?

A No phone numbers. Just radio
communication.

° Okay. To your knowledge are the radio

communications recorded anywhere?

A No.

Q Bo you ever communicate using your own
cell phone?

A No.

Q All right. Or a department-issued cell
phone that's not a Nextel phone?

A No, I haven't.
Q To your knowledge have you seen other

members of your team use their own cell phone?

 

 

 

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Ctficer Keith Hanis - 08/03/2071 Page 28

 

A No.

° And then as part of -- on your narcotics
unit do you keep track of the number of arrests
that you folks make per week or per month or per
year?

A I'm not -- I think the supervisor does.

@ All right. You have a way to look up in
the CLEAR system how many arrests you've made,
though; is that cerrect?

A I believe, yes. If our name is on the
arrest report it might show up. As long as it's
placed on the arrest report it would he.

Qo All right. Have you ever like had
occasion to look at your own -- look up your own
name and see how many arrests you've made in a
given period of time?

A Yes, I have.

Q Okay. And what purpose would you do that
for?

A Just out of curiosity adtivity-wise.

Qo All right. Is there -- is there -- to
your knowledge have there evar been any competition
amongst either the individual officers or teams in

connection with how many arrests that they make?

 

 

 

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Reno vs. City af Chicago

Officer Keith Haris - 08/02/2071 Page 29

 

A No, never.

Q Ta there -- have any supervisor officers
ever indicated to you anything to the effect that
they want a certain number of arrests per day or
per week or pex month or anything like that?

A No, sir.

9 And when you're on a narcotics unit your
primary focus, I take it, is narcotics activity; is
that correct?

A Yes .

Qa You work in an undercover capacity; ia
that right?

A Yes.

° In that capacity on a narcotics unit, do
you ever do things like write traffic tickets,
routine traffic tickets?

A No, I don't.

Q All right. How about a -- have you been
involved in investigating other crimes, net
narcetic crimes, since you've been on the narcotics
unit?

No.
So your focus is pretty much narcotics?

Yes.

 

 

 

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Reno vs. City of Chicago

 

 

 

 

Officer Keith Harris - 08/03/2014 Page 30

Q And since you've been on the narcotics
unit have you applied for any promotiona?

A Ne, I haven't.

Q Have you applied to work in any other
district or area?

AB No,

Q And you still work Area 2 ganerally?

A Yes.

Q Okay. Now these folks -- I'll go one by
one. Hoffman, is he still on your team?

A He's never been on my team.

Q Okay. So he was part of the surgical
strike mission on the day of Reno's arrest, though,
correct?

AB Yes.

Q Okay. Was he on a different narcotics
team to your knowledge?

A Yes,

o Okay, Had you ever worked with him
before on any sort of mission before the day of
Reno's arrest?

A i worked with him years prior to this
event.

o Okay. So you knew who he was?

we
Seine Wait Hanis ABaamon Page 31

 

A Yes.
2 All right. And then what about Gonzalez,

was he on your team as of the day cof Reno's arrest?

A Yes.

Q And then what about Shaar?

A Shaar.

Q Shaar.

A He's on a different team as well.

Q Okay. And that's not unusual to put
different team members together for a surgical
strike mission or is it unusual?

A Ne, it's not unusual.

o And then -- okay, Had you known Shaar

before the day of Reno's arrest?

A No.

Q That was the first day you'd met him?

A [ can't recall.

o But at any rate you didn’t know him well?

A I didn't, no. No.

Q Did he come from a different team to your
knowledge?

A, Well, he’s -- I don't know what team he

came from. I know what team he's on. So I knew,

you know, whe he was, but as far as anything else

 

 

 

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Officer Keith Harris ~ cebar2o14 Page 32
T'm net sure.

o And you don't recall working with him
before this day of Reno's arrest?

A I can't remember.

Q Okay. Was he on the same team as Hoffman
to your knowledge?

A I can't recall I don't think.

Q All right. Okay. On the day of Reno's
arrest did your surgical strike mission team make
an arrest of anybody else?

A I can't recall.

Q Do you recall if you had done any other
surgical strike missions within a week before or a
week after the one of Reno's arrest?

A Ne.

Qo You can't recall one way or the other?

A No, gir,

o Okay. And in other cases that you've
done where you've used marked money to make
arrests, has there been occasions that you are
unable to recover the money?

A Yes.

Q Can you give me a percentage of how often
that happens roughiy?

Ocar Ken oni abioa/2019 Page 33

AR No, I can't.

o Can you tell me if it's more than 50

percent or lesa than 50 percent of the time?

A See, I can't tell because if we're doing
a buy-bust then it’s different than doing a
mission. So some incidents we know we're not

getting money back because it's an ongoing

investigation,

Qo Right.

A And on the incidents where there's a
buy-bust, we try to get the money back. So we do
so many different -- so many of those that it's

hard to gay 4 percentage.

Q Right. The thing you did with -- the
arrest of Reno, that was a buy-bust operation?

A Yes,

o All yvight. And so itis net an ongoing
investigation?

A No, it's not.

Q And when you say "buy-bust,“ that means
you make a buy and then you make the arrest soon
thereafter that day?

A Yes.

Q All right. And in those situations you

 

 

 

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Reno vs. City of Chicago

 

 

 

 

Officer Keith Hanis - 08/03/2014 Page 24
try to get the money back?

A Correct.

2 All right. Before the day of Reno's
arrest did you to your knowledge ever have an
encounter with him?

A No, sir.

o Okay. Did you know who he was?

A Ne.

Q Okay. Let's go to the day of the arrest.

It was in the vicinity of 79th -- East
79th and Essex; is that right?

A Yes.

Q All xvight. Were you familiar with that
area?

A Not necessarily.

Q All right. Had you made any arrests to
your -- do you recall making any arrests at that
intersection, 79th and Essex, at any time before
that day?

A No.

o Is that -- that‘s within the Area 2?

A Yes.

o Okay. So did you know before that day
thar you were going to be assigned to a surgical

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Reno vs. City of Chicage
Officer Keith Hams - 08/03/2044 Page 35

 

strike mission that day or do you learn about that
on the day you come into work?
A We usually learn about that the day

before, one or two days before.

9 And what watch were you working then?

A Mornings. That would be the second
watoh,

9 And so what is that roughly, like 9:00 to
5:00?

BR Could be. Sometimes we start earlier,
but it's normally days.

2 All right. So within a day or two
before, what was it, March 28th you would have

known that you were going to do a surgical strike

mission?
A Yes.
2 Okay. And when do you learn who your

team members are going to be?
A Probably the day of could be. We might
know the day before.
2 All right. So at any rate, on March 28th
you go to work and you knew you were going to do
thé surgical strike mission that day when you went

to work that day; is that right?

 

 

 

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Cfficer Keith Harris - 08/03/2017 Page 36
A Yes.
Q And did you know where it was going to
be?
A No.

Q Okay. So on that day you're assigned the

location?
A Yes.
a Okay. And who assigns you the location?

A The sergeant. Usually he has a list of
locations, and we just start out with what he gives
us.

9 Okay. And you were assigned to the area
I take it -- well, tell me, what area were you
assigned to?

A Area 2.

Qo In what location were you assigned to do
the --

A We're not assigned to a particular area.
Area 2 ig a big area.

Q Right.

A So they'll just say the address of
whatever, and we'll go to it.

o Okay. My question came out bad.

So they actually give you an address

 

 

 

 

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Rane ws. City af Chicago
Officer Keith Harris - 08/03/2014 Page 37
to go to?
A They give us a vicinity. They don't give

an exact address. They say the vicinity of 78th
and whatever street or 79th and -- something like
that .

° Do you recall what vicinity they gave
you, what they told you, on the day of Reno's
arrest?

A They did say 79th around Essex to
whatever the street is. I can‘t remember the
other,

Q But they give you another street to the
east or west or north or south?

A Possibly.

Q And then what do they tell you about that
area, if anything?

A They don't tell us anything in
particular. Just a high-traffic area.

Q All right. And when they say
“high-traffic area," it's your understanding that
there's a lot of narcotics activity going on?

Yes.
All right.

A let of complaints from that area.

 

 

 

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Reno vs. City of Chicago
Officer Keith Hams - 08/03/2011 Page 35

 

Q Did you hear about any specific
compiaints about a person matching Reno's
description on that day?

A No.

Q All right. Did you get any specific
complaints about any particular persons that day,
any descriptions, any names, anything like that?

BR No.

Q Did you know any of the store owners in
that area of 79th and Essex?

A No.

Q Had you ever talked to them -- did you
talk ~- had you ever talked to any of the store
owners prior to March 28th of ‘093 in that area of
79th and Essex?

A No.

Q So on thig particular day once you know
where you're going to go -- before I get there, let
mé ask you this: Are you always -- when you do
these -- in your job when you're doing buy-bust
operations are you always the buy officer or do you

sometimes do different reles, like enforcement or

 

 

 

surveillance?
A Wo, sometimes I might do surveillance.
aI
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Rano vs, City of Chicago
Officer Keith Hams - 08/03/2011 Page 39

 

Q All right. Okay. And then -- okay.

So on this particular day does
somebody -- does your superviser or your sergeant
hand out the assignments that you're to have that
day? By assignment I mean enforcement officer
versus surveillance versus the buy officer.

A Well, the buy officers, we have different
buy officers, so whoever wants Lo make an attempt
to go through to try to -- for that area.

Q All right. So when you say “we have
different buy officers,” does that mean you have
different officers that routinely do buys as
opposed to other officers?

A Yes.

Q All right. And so you are somebody wha
routinely does buys, I take it?

A Yes.

Q All right. And, I take it, if you're
doing it in African-American neighberhoods you
would be a guy that would do that as opposed to a
white guy?

A Hot necessarily.

No? All right.

Is there any particular qualification

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Officer Keith Haris - 08/03/2041

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to be a buy officer?

A Ne. Anybody can buy if -- you know, it
depends on, I guess, how you just go in there and
present yourself.

Q All right. Okay. So on this particular
day did somebody assign the different roles of you
folks or not? Do you remember how that worked?

A Well, pretty much I already know what my
role is.

Q Because you're going to probably be the
buy guy?

A Probably.

9 All xight, And do you knew if somebody
else assigned the other roles of the enforcement
officers and the surveillance officers?

A i'm not sure how they get their roles
aggigned.

Q Do the members of the surgical strike
team -- well, on this -- let‘s just talk about this
date. On March 28th of '09 do the members of your
surgical strike team have a meeting about how
you're going to go about conducting this buy-bust?

A Yeah, we have a brief role call, tell us

about the area and, you know, the location.

 

 

 

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Reno vs. City af Chicago
Ctficer Keith Harris - 06/03/2011

Paga 41

 

a All right. And then you guys roll out in

different cars?

A Yes.

Q And you're all in undercover cars, plain
cars?

A Yes.

g And so on this particular day the members
of your team, who included yourself, Gonzalez,
Shaar, and Hoffman, knew that you were going to try
and make a buy that day in that area?

A Yes.

o Okay. And so did Gonzalez know in

advance the intersection that you were going to go

to?

A No.

Qo Okay. So how did -- all right. As I
understand -- well, did you know where he was going

to go to before you went out there to make the buy
that day?

A Well, I knew he was going to the vicinity
of the area that's given to us.

Q All right.

A And I just wait.

2 And you just wait for what?

 

 

 

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Reno vs. City of Chicago

Officer Keith Haris - 08/03/2014 Page 42

 

A IT wait for the surveillance to say, hey,
come to this particular area, I'm set up here, and
we Can try to buy narcotics From that area.

Q Okay. And he tells you this over the
vadio, I take it?

A Yes.

o All right. And before you go out there
to de that, you know that you alsa -- in addition
to the surveillance officer, you know who the
enforcement officers are?

A Pretty much. We have a lot of different
enforcement depending on how many teams we have,
so -- but enforcement know to listen up for them if
they're called, they know they can kind cf he
reached. I mean, they know that we're calling for
them.

Q Okay. And so let me understand the
roles. Your role obviously is to try and do the
actual buy, correct?

A Correct,

Q And what’s the rele of the surveillance
officer?

A Surveillance officer watches the buy

officer,

 

 

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Reno vs, Clty of Chicago

Officer Keith Harrls - 08/02/2014 Page 43

 

Qo Por safety reasons, among other things?
Yeah, safety and to --

Document what's going on?

ry oO F

Yes,
o All right. And then what's the role of
the enforcement officers?

A The enforcement is alse for safety in
case something goes wrong, we need help or
anything, and also to detain a person after a buy
is made.

Q All yight. And then generically, not
particular to this case, tell me what's supposed to
happen in a surgical strike mission buy-bust
operation.

A Surveillance goes out there. He may see
some players in the game, so to speak. He'll get
on the radio and say, hey, why don't you try --
there's a guy out here, why don't you try him and
then see if, you know, anything will happen.

Ang then me as the buy officer, 1I'11
come to that location. I'll talk to that person
and sée if I can get any info or narcotics out of
him or he might send me somewhere, he might sell to

me, and the purchase will happen if he‘s willing.

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Officer Keith Haris - a0312014 Page 44

Q Okay. And then what happens after the 1
purchasé is made, genericaliy speaking? 2
A After the purchase I go back to my 3
vehicle, I'll get out of the immediate area. I 4
radio to the team members. 5
At that point in time the sergeant 6

will send enforcement cut there. Once they have 7
him in sight and detain him, then I'1i go back to 8
the area that I bought from, the area of 3
detainment, and just go past there and say, hey, 19
either that's the right guy or if it's the wrong 11
guy . 12
Q And I take it --~ who describes the guy to 13

the enforcement officers that the buy has been 14
made, is it the surveillance officer ar you? 15
A Well, actually I do the final 16
confirmation. 17
o Uh-huh, 18

A Surveillance officer is on the spot and 19

he sees things are going on, what appear to be a 20
narcotics transaction, he'll cail that out, and 21
after it's ali said and done I get on there and 22
make a final clarification and say, hey, guys, it 23
is a positive or something to that nature. a4

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Over Kean Hanis = OB972011 Page 45

@ And how da you go about doing that? Do 1

you actually drive by and leok? 2
A Well, I'11 go on my Nextel radio and give 3

a description and location. And after enforcement 4
has the individual detained, I'll drive past the 5
area of detainment and that's when I'll via Nextel $
again say, hey, that's the right guy you have. 7
Qo Okay. Because you're actually visually 8
looking at the guy that's being detained? 9
A Yes. 19

Qo Okay. And do you give -- before the il
détainment is made, before the enforcement guy 12
comes out, do you give the description of the guy 13
or does the surveillance officer? I forgot what 14
you said. 15
A Say it again? 16

Q After you make the buy and you leave the 17
immediate area, do you give the description of the 18
person you purchased from or does the surveillance 19
officer do that? 20
A Well, during that whole process the 21
surveillance has the close communications with the 22
team that I can't hear because I don't have my 23
radio on mé during that time. 24

 

 

 

Rano vs. City of Chics:
Officer Kelth Harris - 78/03/201 1

 

 

 

 

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2 Right.

A But once I get in the vehicle, I'm sure
at that point in time surveillance has already told
them what's going on. I'm just reclarifying what T
did out there.

o All right, So let*s go now to this
particular day, March 28th of '09. Do you remember
what time of day it was that you went out to the
area of 793th and Essex?

BR I believe maybe 4:90 something in the
evening.

Q In the afternoon?

BR Afternoon, yes.

Q And before you went out there to that
intersection, were you given any information about
what was going on at that intersection?

A Yeah, I was given the information by the
surveillance officer,

Q And what information did he give you?

A He said a male was out there, gave a
description, and said he was talking to several
individuals that were passing by at that corner
location.

Q And that would have been Gonzalez that

ff
Rano vs. City of Chicago
‘Officer Kaith Hams - ae05/2011 Paga 47

 

said that?

A Yes.

Q Did he say that he observed any hand to
hand -- what appeared to be hand-to-hand
transactions while he was observing the male talk
to several individuals?

A To wy knowledge, no.

Q Did he describe the male other than

saying there's a male?

A Yeah, he described. He gave a clothing
description.

Q And he said he was an African-American
guy?

A Yes.

9 Do you remember the clothing description

he gave you?

A Black skullcap, black either jacket or a
hocded sweatshirt, some black pants, and
distinctively some orange stitching that wag on the

black pants.

Q So after you got this information what
did you do?
A I told him I was going to -- told hin

what direction I'll be driving and park my vehicle,

 

 

 

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Officer Keith Harls - 06/03/2014

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and then I shut down my radio and get out and at
that point enfercement -- sorry, surveillance is
given details after I get out of the vehicle.

Q Okay. What do you mean given details
after you get out of the vehicie?

A After I shut down my radio, I'm out of
the vehicle making my approach to the individual
that was pointed out, and so now enforcement -- I

mean surveillance has to complete their...

Qo Right. And so did you know where the
surveillance car was before you got to that
intersection?

A No, I don't -- didn't know that,

Q All right. So then where did you drive
to that day?

A I drove to -- close to the corner of -- I
was On Essex just south of 79th Street.

Q Okay. And Essex is a north-south street;

is that right?
A Essex, yes.
a All right. And you said you parked south

of 79th on Esséx?

 

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A Yes.
Q And then when you got out -- what did you
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Rano vs. Clty of Chicago
Officer Keith Harris - 08/02/2011

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ebserve when you got to that intersection?
A When I got out of the vehicle I observed
a subject that surveillance had called out and I

walked across the street, northbound across the

street, and approached him. He was standing on the
corner.
Q Okay. And this is the person who you

later learned was Michael Reno?

A Yes.

2 And can you qive me a description of who
it was?

A The clothing description?

QO Yeah, the same clothing description?

A Same clothing description I stated, male

black, black skullcap, black shirt, coat, top, or

whatever it was, and the black jeans.
Qo Okay. And before you made any verbal
contact with him, what did you observe him to be
doing?

A Actually he was just standing -- he was

just standing around on the corner.

Qo Was he talking to any individyals that
you saw?
A I didn't see him talking to anyone,

 

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Reno vs. City of Chicago

 

 

 

 

Officer Kolth amis - 08/03/2041 Page 50

o Wags he yelling anything or shouting
anything or saying anything that you could hear
such as “rocks, rocks“ or anything like that?

A No.

Qo Okay. In your work you've learned that
narcotics dealers sometimes stand on streets and
say things like *rocks, rocks" or something to that
effect?

A They used to. A lot of them they don't
say a lot of anything now because it's too much of
a giveaway.

Qo All right. In any case, you didn't hear
him saying anything?

A No.

Q Okay. That's correct?

A Correct.

Q Okay. How long did you observe him for
before you made verbal contact with him?

A During from the time I got out of the
vehicle, which maybe 45 seconds er so.

Q Ali right. And then you were in an
unmarked car, correct?

BR Yes,

Q Plainclothes?

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Reno vs. City of Chicago Page 51

Officer Keith Haris - 08/03/2041

 

A Plainclothes,

2 How were you dressed?

A I can't recall what I had on that day.

9 All right. And which corner was Reno on?
A He was on the northwest corner.

Q And do you remember what Kind of store --
is there a store over there?
A On that corner he was standing I believe

there is a store, I don't know what kind of store

it was.

a Do you remember if it was a cellular
store?

A Possibly. Possibly. I believe so,

g Okay. So -- and you said the northwest
corner? I'm sorry.

A Yes, northwest corner.

o All right. And so did you actually walk
over to the northwest corner to talk to him?

A Yes.

Q And -- okay. And how was -- what was the
weather like that day; do you remember?

A I can't recall,

Q Was it raining or snowing or anything; do

you remember?

 

 

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Reno vs, City of Chicago

 

 

 

 

 

Officer Keith Harris - 08/03/2011 Page 52

A I den'tt knew. I really don't know.

Q This is the end of March, so it still
would have been light out?

A Yes.

2 All right. So when you approached him
did he appear to take any evasive action or da
anything suspicious?

B No.

Oo Okay. When you approached him who talked
first?

A I did.

go And what did you say to him?

A I asked him if he had any rocks.

9 And that's street slang for cocaine?

A Yes.

Q That was the first thing you asked him?

A Yea.

Q And how did he respond to you?

A He said follow me.

° Did he say anything else?

A No.

Q He didn'c ask you like who are you or
anything like that?

A No,

{@
Git kan cane aeroar2014 Page 53
o And -- okay. And so -- so I guess this

entire conversation took just a matter of seconds?

A Yes.

Q All right. So then when he said follow
we, what wags the next thing that happened?

A We walked southbound across the street to
a -- in front of ancther store location. So we
were on the southwest corner at that point.

Q So when you say you *walked southbound
across the street," you would have walked across
79th Street, then; is that right?

A No, I walked southbound -- sorry.

Southbound on Essex,

Q But you're crossing 79th Street?
A Yes, across 79th. Yes.
Q Right. Okay. Wow, you're on the

southwest corner of 79th and Essex?

A Yes.

Q All right. And so when you got to the
southwest corner -- did you have any conversation
while you were walking?

A No.

a When you got to the southwest corner of

79th and Essex what happened?

 

 

 

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Rano vs. City of Chicago

 

 

 

 

 

Officer Kalth Harris - 08/03/2011 Page 54
A He asked me how many did I want and at
which time I told him one, and he said give me the
money .
Qo Wow, let's talk about that for a minute.
You camé there with 1505 funds chat
day?
A Yes,
o And how much money -- 1505 funds did you
have with you?
A I don't recall.
° Did you have more than two fives?
A Probably so.
Q Would there be a record of that somewhere
eof what you had with you that day?
A No.
Q And then when he said to you how many do
you want, you understecd what he meant by that?
A Yes.
Qo And because of typical street glang for
narcotic sales?
A Yes.
Qo Okay. And what does that mean when he
says how many do you want?
A How many bags of narcotics do I want.
: @
Gffoer ein Haws 06/03/2011 Page 5
o And how much ig contained in each bag
generally?
A One.
Q And is it a tenth of a gram in each bag

generally or how does that work?

A -2 grams usually.

Q Usually .2 grams per bag?
A Uh-huh,

Q And hew much is a bag?

A One bag is $10 generally.

° Okay. So he said how many do you want,
and you said one; is that what you said? I'm
sorry,

A Yes, one,

o Okay. And then any more conversation at

that point?

A No.
Q Was there any exchange of money at that
point?

A Yeah, I gave him the $10.

° And that consisted of two fives?

A Yes.

Qo Okay. You gave him -- while you were on
the south -- let me withdraw that.

 

 

 

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Reno vs. Clty of Chicago
‘Officer Keith Harls - 08/03/2011 Page 56

 

So I make sure [ understand the
chronology, you gave him the $10 after you told him
that you wanted one?

A Right.

Q Did he tell you how much that was or did
you know or how did that happen?

A No, generally it's -~ usually that's how
it goes. It's usually $10 per bag of narcotics
that you purchase,

Q Okay. $o you gave him $10, which
consisted of two fives, and then what happened?
What was the next thing that happened?

BR He took the money, he went inside of
another store type location, and I waited outside.
Q Now, at this time did you know where

Gonzalez was?

A No.

Q And when you said he went inside another
store, wag this the store at the corner of 79th,
the southwest corner of 79th and Essex?

A Yes.

e And what Kind of store was that?

A I don't recall. Some type of convenience

store, I believe.

 

 

 

Reno vs. Clty of Chicago
Officer Keith Harls - 08/03/2011 Page 57

 

Qo With like food in it and stuff?

A Yes, soda, chips.

Q Okay. Could you see inside the store
from where you were standing?

A No.

Q And when you -- when you were talking to
Reng, I take it you're locking him up and down to
see if he might have a weapon or if he might have
narcotics on his person; is that fair or no?

A Not necessarily, no.

Q Okay. Well, did you notice anything
unusual about his appearance when you were talking
to him by the time -- let me withdraw that and
atart again.

Did you notice anything unusual about
his appearance by the time that you had given him
the money?

A No, except the description that I looked
for when I first approached him.

Q And when I say "unusual," were there any
bulges in his clothing that looked out of the
ordinary?

A No. Not that I can recall.

Q Ali right. And so when he -- when you

 

 

 

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Reno vs City of Chicago.
Officer Keith Haris - 08/03/2011 Page 58

 

gave him the $10 he walked into the store; is that
correct?

A Yes.

o And then whak did you do?

A I waited outside the store.

Q Okay. And you're not in radio contact
with anybody?

A No.

Q All right. And then how long did you
wait for?

A About a minute.

Q And then after roughly a minute what
happened?

A He reemerged from the stere. He handed
me the one small plastic knotted item.

Q And it looked to you like -- was this a
typical baggy you would see cocaine placed in?

A Yes.

Q And it was -- and it looked like rock

 

 

 

cocaine?
A Yes.
Q As opposed to powder?
A Rock, yes.
Qo All right, And it was a typical amount
rl
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Reno vs, Cty of Chicago
Officar Keith Haris - 08/02/2011 Page 59

 

that you would pay $10 for based on your
observations of it?

A Yes.

e Did he ask if you wanted more than that
or was there any further conversation about the
narcotics?

A No other dialogue.

° So he hands you the narcotics in a

plastic bag; ig that correct?

A Correct.

Q You take them, and then what happens?

A I just walk away and go back to my
vehicle.

Q Okay. Could he have been in the store
longer than a minute or was it --

A I didn't have a watch to time him. It
could have been a little longer. Approximately T
think maybe a minute.

a] All right. Was there any foot traffic in

or around the store during the minute that you were

waiting?
A I don't recall.
Q Okay. Did you see any -- do you recall

seeing any foot traffic the entire time that you

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Officer Keith Harris - 08/03/2011 Page 60
were out there up until the time that you had
received the narcctics?

A Yeah, I'm sure some regular foot traffic
that had nothing to do with the narcotic sales.

Q Okay. And up to the time that you had
this exchange with Reno had you seen him do any
criminal activity?

A No.

Q Then when -- after he gave you the baggy,
you said you turned around and walked away; is that
correct?

A Yes,

Q What did you do with the baggy?

A Put it in my pocket.

Q Which pocket?

A, Can't recall.

Q Okay, And did you see what Reno did
after he gave you the baggy?

A No.

Q You don't know if he stayed outside on
the street, went in the store, or walked somewhere
else?

A I don't know. Wy back waa cowards him,
and I walked southbound.

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Officer Kol Ham = 68/09/2011 Pega 61

Q Okay. Could you hear -- when Reng --

after you paid Reno and he went into the store, did

you hear him saying anything to anybody in the

store?
A No.
o Could you hear any conversation from

inside the store while you were waiting outside?
A No.
Qo Okay. And have you told me about all the
conversation that you and Reno had with each other?
A Yes.
Q And so then you said you walked

southbound from that location?

A Yes.

Qo And that would have been towards your
car?

B Yes,

Q All right. And that took you, what, less
than a minute to get to your car?

A Yes.

Q All right. And so then when you got to
your car, what did you do?

A I drove off from the immediate area and I

radioed to the team members of what happened, gave

 

 

 

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Reno vs, City of Chicago

 

 

 

 

 

Officar Kelth Haris - 08/03/2014 Page 62
a location, description.

Qo And the location you gave was what? What
Gid you gay?

A I said the corner of 79th and Essex.

Q Would you have said the southwest corner
or just this corner?

A I don't believe I distinctively said the
direction.

9 All right. Did you say what kind of
store? Did you describe the store that he went
into?

A Ne.

Q Did you say -- did you describe what had
just happened when you got on the radio?

A Yes,

Q And what did you describe?

A L described him going into -- me handing
him money, him going into the stere, coming out and
giving me the narcotics,

Q And did you specifically tell people that
you had given the guy two five doliar bills?

A Yes, I did.

Qo And so then -- as you're doing this
you're leaving the area; is that right?

is
Bites Rett owe i ioa201 1 Page 63
A I've left the area already.

o All right. You've gotten in your car and

you're gone?

A Right.
Q Okay. Where did you go?
A Usually I go a few biocks over. Wo

distinctive location.

o Do you remember where you went in this
case?

A No.

a And then by the time you leave it's your
understanding now that -- well, by the time you
vadio what happened it's your understanding now

that the enforcement team is going to take over?

A Yes.
9 Okay. So after you get to your -- well,
did you -- after you got to your location, your

next location where you were waiting, did you have
any conversation with any other team member?

A No.

QO Okay. Did anybody radio to you and ask
you any questions?

A No.

Q Okay. And so after you got to your next

 

 

 

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Officer Keith Hams - 0803/2011

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location, how long did you wait there before you
were either told something cr you heard something
or you moved from that location?

A Once the sergeant supervisor tells
enforcement toe go to the area, it's safe to detain
the subject, that's when enforcement goes and
enforcement has the subject in custody, that's when
I drive past that location and positively identify
him as the person that sold the narcotics.

o So did you hear -- de you hear the
sergeant on the radio gay -- tell the enforcement
to go and do what they're supposed to do?

A Yes.

Qo How long did that take from the time that
you did the buy to the time you heard the sergeant
instruct the enforcement officers to go to that
location roughly?

A Somewhere in between maybe ii, 15
minutes, something like that.

Q Okay. And did the sergeant in this case
give a description of the guy that you had bought
the narcotics from?

A I don't believe the sergeant gave cut the

deseription. I believe just enforcement, myself

 

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Officer Keith Harris - 08/03/2011

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and enforcement.

@ Well, I mean, how does enforcement know
who te detain?
A Enforcement keeps constant -- enforcement

listens to the radio conversations with myself and
the surveillance officer.

Q All right. So they had heard the
description being given at that time, I take it?
A Yes.

G All right. So if I understand the order
of this correctly, after you leave, after you make
your buy and you leave, you get on -Ehe radio and
you téll the surveillance officer what you just
did; is that right?

A Well, normally the surveillance officer
is telling other team members before I get in and
confirm what just happened what he saw.

Q Right.

A And after he give his interpretation of
what he saw, I come in and then I clarify if
whatever he said, which I don't know, is correct or
not, which at that point in time everything was
pretty much correct that what he saw and what I

did.

 

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Rano vs. City of Chicago
‘Officer Kelth Manis - 08/03/2011

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o But, I take it, you added that you paid
for this -- these narcotics with two five dollar
bills so the enforcement officers know this?

A Yeah. I tell everything that happened.
Enforcement listens and he hears -- they hear
everything that we discuss.

o All right. And then you said you waited
for roughly 11 to 15 minutes before you hear
something else about to do something; is that
right?

A That's before the enforcement detained --
at some point they're waiting for the right moment
to detain the subject.

Q Okay. So then you hear the sergeant come
on the radio and tell the enforcement to go detain?

A Yes.

Qa Okay. And that was roughly 11 to 15
Minutes after the buy; is that what you said?
I believe

A Yeah, SO,

Q All right. And then what do you do after
you hear the sergeant give the orders for the
enforcement team to go detain the guy?

A I just wait until enforcement actually

have the guy in custody and at a point where he can

 

 

 

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Rano vs. City of Chicago
Office: Keith Haris - 08/02/2011

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be viewed by me.
2 Okay. So did you overhear anything over
the radio about the actual detention of Reno by the
enforcement guys?
AB They went inside of a -- they had to go

inside cf a store and they brought him out.

Qo Okay. And then after -- and you heard
that, I take it, over the radio?

A Yes.

Q Bnd do they announce that after they went

inside the store and brought him out?

A I believe surveillance mentioned that
enforcement is inside of the store with the subject
and at some point enforcement, some minutes later,
don't knew how long, but enforcement then brought
the subject outside, and that's when I drive to the
area of detainment to positively identify him.

o So how long after the buy was it roughly
that you actually drove by the area?

A Probably about 15 minutes or ao,

a All ight. And so -- and does somebody
instruct you to do your drive-by and make your
identification?

I just --

A No. Once they have him our,

 

 

 

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‘Officer Keith Harris - 06/03/2014

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@ither enforcement say -- you know, they bring the
guy out and I just come across there and say I'm
about to drive by so i can take a look at him.

Q All right. And so you did that in this
case?

A Yes.

Q And then what did you observe?

A I observed them have the subject standing
outside the location.

Q And when you say “the subject," you're
talking about Rene; is that right?

A

Yes, Reno.

o Okay. Was he handcuffed when you
observed him?
Ne, I don't believe so.

9 And was he the guy that you made the buy

from?

A Yes.

Go Okay. And then after you drove by --
and, I take it, when you drive by you don't stop,

you just drive by and observe from your window of
the car?
A Yes.

Qo All right. And you don't -- did you have

 

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Reno vs. City of Chicago
Oificer Keith Hanis - 08/03/2011

any verbal communication out your window to the

enforcement officers?

A No. No. Never.
Q So you maintain your cover?
A Yes,

a All right. And you drive by and you get

on your radio, then; is that what you do?

A Yes.
Q And you tell -- and what did you do?
A I say it's a positive, that's the guy

that you have.

Q And then what did you do after you did
that?

A i drive -- I actually park somewhere else
and wait for further instructions of what's our
next location as far as processing or anything else
to be done for that particular event.

Q All right. So there's occasions where
you would go to your next location to try and do
another buy?

A Well, it depends. I wovldn't -- ¥ have
paperwork to do, but it depends on what the
supervisor wants. So he might have a certain

amount of people go somewhere, you know,

 

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Reno vs. City of Chicago

 

 

 

 

Officer Keith Harris - 08/03/2011 Page 70

Q So what happened in this case?

A In this case the supérvisor said lets
relocate to Area 2 to process this incident.

Q And when he says "process," that means do
all the paperwork?

A Yas,

Q And go did you go directly to Area 2 or
had you been stopped for some period of time?

A No, I went to Area 2.

o And so when you got to Area 2 what did
you do?

A Started doing my paperwork.

Qo Okay. And what paperwork did you fill
out?

A De my narcoties purchasing officer's
report.

9 When you got to Area 2 was Hoffman and
Shaar already there?

A No, they were shortly -- they were a
little bit behind me.

o When you say “a little bit behind me," a
matter of minutes?

B Possibly.

Qo And what about Gonzalez, was he already

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Bier Koil amis eboaont4 Page 71

there?

A I can't recall.

Q So after you got -- after you got there

and you saw Hoffman and Shaar, did you have any
conversation with them about the arrest?

A Neo,

Q By the way, when you drove by and made
the identification did you see anybody -- any other
citizens out in the immediate vicinity of where the
detention was being held, where Reno was being
detained?

BR Not to my knowledge.
Q Okay. And after you got hack to the
station you saw Hoffman and Shaar. At any time
that day was there any conversation that you had
with them in which they discussed that they didn't

find any of the 1505 funds?

A Yes,
9 And what was that conversation?
A Just asked did they find any money, did

they find the 05, and they said no.
0 Did they indicate what they did to look
for it?

A E don't recall,

 

 

 

 

 
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‘Officer Keith Hans - 06/03/2041 Page 72

Q Did -- was there any conversation in
connection with whether they found any more
narcotics on Reno?

A I don't believe so.

Q Okay. Who's responsible for
inventorying -- who's responsible for inventorying
the narcotics?

A Whoever the evidence officer is.

Q And who is that?

A Hoffman, IT believe, was the evidence
officer that day.

9g The same Hoffman who did the detention?

A Yes.

Q Was the enforcement officer?

A Yes.

9 Okay. Because you have the narcotics in
your possession --

A Yes.

Q -- right?

And then what did you do with it when

you got back to the police station?

A When I saw Hoffman I handed it to him, at
which time he placed it in a narcotics envelope,

Q And when you gave Hoffman -- you gave him

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the entire baggy?

A Yes.
Q Just the way you received it from Reno?
A Yes.

Q And did you actually see Hoffman place

them into an envelope?

A Yes.
Q Okay. And then when he places it in an
envelope there's -- you write -- there's things he

writes down on the envelope, the inventory number
and so forth?

A When the inventory number is provided he
would then write it on there at some point.

9 Okay. And how does the inventory number
get provided?

A We usually when we get all the numbers
for our reports, we put it on ome like a -- it's
like a scratch sheet of paper, and after ail the
numbers get placed on there we'll Xerox copy them
and everybody who is doing paperwork regarding the

incident, they would get a copy of that.

Q Is this a typewritten document or a
handwritten?
A It's handwritten.

 

 

 

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Reno vs, City of Chicago

 

 

 

 

 

Officer Keith Hams - 08/03/2014 Page 74

a And who gives you the scratch paper with
all the numbers?

A We just have them. Just something we use
generically in the office.

Q Who assigns the numbers, I guess, is what
I'm getting to?

A The numbers are assigned through
computer-generated or we call GEMC for certain
numbers, and once we gét all the numbers we just
write it -- handwrite it down on this paper and
then we'll disseminate it with our -- throughout
our team.

9 And in this case the inventory numbers in
particular?

A Uh-huh.

Q How do you get those numbers assigned?

A Well, the inventory numbers are
computer-generated. Once they're generated, then
someone will write it down on that piece of paper
that I spoke about.

o Uh-huh. And then -- and whe did that in
this case?

A I don't recall who did that. Anybody can
actually -- once we say the numbers, people who

i
erie ait eBtoazct 1 Page 75
have somebody -- somebody might be writing it down
and that's how it works.

2 Okay. And then whe -- and you say you
believe Hoffman was the evidence officer in this
case?

A Right, he was the evidence for my
narcotics.

Q Right. Was there evidence -- and there's
evidence officers for other narcotics, I take it?

A Not for this case. I mean, I gave him my
narcotics, so I believe he did that inventory for
that.

Q Okay. So he wrote the inventory sheet
for that?

A It's a computer-generated -- inventory is
computer-generated,

Q Uh-huh.

A And once the number's generated, that's
when we say the number, whatever the number is, and
you write it down on a sheet.

9 All right. And then what happens to that
piece of scratch paper where all the numbers are
written down?

A Gets tossed after we finish doing all our

 

 

 

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Officer Keith Haris - 08/03/2071 Page 76
paperwork.

Oo Okay. What numbers are put on che
scratch sheet with all the numbers, which different
numbers are put on it?

A We have an RO number, we have an event
nuonber, we have a mission number, wé have team
numbers, we have inventory for narcotics, we might
have inventory for additional money if we have any,
and that's about it.

Q All right. And is there one person
assigned to do that or no?

AB They're not assigned. Somebody might
say, hey, I'll get the numbers, I*11 write down all
the numbers for you guys or whatever.

2 All right. Let's leok at some of these
reports.

And on thig particular day, having
talked about this arrest as we've talked about it,
do you remember now ~- has it refreshed your
recollection ag to whether or not you made any
other arrests that day?

A I don't recall 3f I did or not. Just
this one go far,

o All right. So I'm going to show you --

i
Oitcer vel lewie <atsiz01 1 Page 77

 

I'm not sure if I'm going to mark it yet till after
ft shew you.

I'm going to show you the arrest
report.

A Okay -

9 And my question is going to be if you
wrote anything that's on the arrest report.

A Did I write on this arrest report?

Q Right, either page. Any of the pages of
it.

A I can tell you right now I don’t touch
the arrest report.

9 Okay,

A Whoever doss the arrest activity they
generate that, and I have no involvement with this.
Just my purchasing report.

o So based on your understanding who would
have written this arrest report?

A Whoever attested to it, I believe.

Q Okay. So if this says the attesting
officer was Hughes, does that mean he’s the one
that wrote it?

A Net necessarily. He might -- he could

have -- he could have been the officer that

 

 

 

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Reno vs. Clty of Chicago

 

 

 

 

 

Officer Keith Harris - 06/03/2011 Page 7a
actually got into the arrest report system for
someone and said, hey, I pulled it up for you, go
ahead and do your arrest.

9 Uh-huh,

A We all can pull up the reports, but it's
a matter of the person whe actually types in the
information for it.

Q okay.

A So I'm not gure -- a hundred percent sure
on that one.

Q Generally speaking, is it one of the
officers that's involved in the arrest that does
the arrest report?

A Usually it is.

Q All right. And do you know who Hughes
is?

A I have no clue.

Q You don't recognize him as being somebody
from your team?

A I really don't know.

Q All right. Then I'm going to show you --
this next document I'm going to show you is -- it's
called a Narcotics Section Supplementary Report.

Did you write anything on this
ta

Olean Keueeione ieoeroar2044 Page 79
document?

A This is my report.

Q All right. And sa you authored the
second page of it as well?
A Yes.
Qo All right. And let mé ask you about some
of the things on here.
You've written that the time of the
occurrence was 1648, which would place it at 4:48

p.m.; is that correct?

A Correct .
Q All right. What does -- in the first
page under offenders and there is a -- it says

relation 024, what does that stand for?

A Wo relation to me.

Q And then you say not gang related because
he didn't have any -~ as far as you knew he had no

gang affiliation?

A As far as I know, no.
Q Okay. And then it says on the -- it says
this is a narcotics (indicating) -- I'm pointing to

this line here (indicating), this ig a narcotics
investigation section and then somebody handwrote

purchasing?

 

 

 

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Rano vs, City of Chicago
Officer Keith Hanis - 08/03/2011 Page 60

 

B Yeah, because it's blacked -- it's not --
it's purchasing officer's report. I did the
purchase for this.

9 Do you know whose handwriting that ig
where it says purchasing?

A i doen't know. Somebody might have wrote
it in there because it's not clear on here.

Q Right. Okay.

A Probably didn't -- bad Kerox copy or
something,

Q Okay. All right. and then that's your
signature down at the bottom left?

A Yes.

Q All right. And then if we can go to the

next page.
A Okay.
Q I'm just curious, you gave an estimated

street value of $24.60?

BR Uh-huh.

o Where did you get that number from?

A We have an ESV calculator on our data
warehouse computer, so it's a chart and you put
however many grams and it will come up with that

amount.

 

 

 

 

Reno ys. City of Chicago

 

Officer Keith Harrls - 08/03/2001 Page 81
Oo Okay.
A It's just a generic estimated.

Q Right. And then where do you get the .2
grams from? Where did you get that?

A .2 grams is usually one item that you buy
off the street.

o All right. And then did you review this
report -- is this the report you reviewed in
preparation for your deposition?

A Yes.

Q Okay. When you reviewed it did you
notice if anything was incorrect or mistaken?

A Not tc my knowledge.

9 Why don't you read it over again and see
if you see anything that's incorrect or mistaken.

A No, i don't see anything. Nothing's
wrong with the report.

Q Okay. So we')] mark this as Exhibit i to
this deposition.

Is that your initials at the bottom

MR. FOX; Okay, Give this to the

reporter.

 

 

 

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Rano vs. City of Chicago
Officer Keith Hacls - 08/03/2011 Page 82

 

(Whereupon the document was
marked Harris Exhibit No. 1 for
identification as of
08/03/2011.)

BY MR. FOX:

Q And then let me just ask you @ question
about it. I'm qoing to put it back in front of
you.

A Okay.

2 Under evidence recovered near the top; do

you see that?

A Yes.

Q You have inventory number there?

A Yes.

Q And then is that a number that you
obtained?

A No.

Q Okay. Where did you get that number?

A That's the number that's generated for

whe did the -- generated the inventory number for
narcotics.
fa} Are you the one that put that number in

this report?

 

 

 

 

A Yeah.

Reno vs. City of Chicago

Officer Kelth Haris - 08/09/2014 Page 83
Q Okay.
A I typed it in there.

o All right. Soa let me just ask you about
something while we're on that.

I'm going te show you we'll mark -his
as Exhibit 2. This is an inventory -- what they
call a property inventory report.

A Okay.

9 And do you know who filled out -- I know
the copy is not as gocd ag it could be. Da you
know who filled out that report?

A Who filled out this report?

9 Yeah.

A This was computer-generated probably by
Hoffman.

Q All right. So and this is for the

marcotics that you recovered?

A Uh-huh.
Q That you purchased; is that correct?
A Correct.

Q All right. And so do you see this
inventory number on here is different than the
inventory number that you put on your report?

A Yes, I de.

 

 

 

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Cicer Reit Hans 05 08/03/2011 Page 84 Bites Kel Home ee Page 86

Q Okay. Do you know how that happened? 1 A yes,

A Could be how it was written from that 2 Q And then do you have boxes that you fill
handwritten piece of paper on the sheet. It could 3 in these things on, like inventory number and all
be -- could be four mistaken for a nine ox vice 4 of that?
verga, S A Yeah, It's like fields, different

2 All vxight. 6 fields.

A But it clearly should be -- it should be 7 MR. FOX: Right. Okay.
four since it was computer-generated, so probably 8 So we'll call this inventory report
from the sheet that was -- that I got it from. 3 Exhibit 2, Harris 2.

9 Uh-huh. 1o (Whereupon the document was

A Mistook it as a nine. 11 marked Harris Exhibit Ne. 2 for

q Uh-huh. Okay. Okay. When you do these 12 identification as of
reports, when you did this report, Exhibic 1? 13 08/03/2011.)

A Uh-huh. 14 BY MR. FOK:

9 What other information do you have 1s Q By the way, did you have any contact with
about -- do you have any other reports available to 16 Reno back at the police station?
you act the time you're doing this report? 7 A No.

A Meaning? 1a 2 Did you see him back at the police

2 Let me ask you this way: What's the 19 station?
first thing you do when you get back to the police 20 A No.
station? After you give the baggy ef narcotics to 21 g All yight. And do you know that -- what
Hoffman, what was the next thing you did? 22 money, if any, was found on him?

A I started generating my report. 23 A No.

9 And the report that we're now calling 24 Q All right. And did you ever ask any

te ti
Ohtcet Rout rans veaginsa0 1 Page 65 Gitar Keiahanis  aBraai001 i Page 87
Exhibit 1; ig that right? z officer that was part of the team why the 1505

A Right. 2 funds were not discovered or found or what was done

Qo All right. And that's the next thing you 3 to lock for them?

did in this cage? 4 A No. They just say they didn't find them

A Yes. 5 and, you know, routine we knew that they do all

Q AlL right. 6 they can to try to locate the money, so there's no

A And -- go ahead. 7 | need to question behind why didn't they find it.

Q And then de you put -- do you -- the 8 Qo Right. And did you get any information
section where you have the inventory number here? 9 that between the time that you gave Reno the money

A Uh-huh . 10 and the time that he was detained that he had been

a Do you put that in at the same time 1. anywhere else other than that one store that he
you're writing the report or does that come in 12 | went inte after you gave him the money?

Jater, or how does that happen? 13 A No.

A No. As the information is given, like 14 Q Okay. Have you been an enforcement
most of the time -~ sometimes I will just start on 15 officer before on any buy-bust operation?
my narrative -- 16 A No,

Q Right. 17 Q Okay. All right. Sa —i'm going to show

A ~- until somebody writes down all the 18 you -- I'm going to show you -- I just want to
numbers on a piece of paper and until that piece af 19 identify it differently.
paper is handed to me and then i can plug in the 20 E'm going to show you another document
other numbers, like the inventory number and the RD 21 that’s also -- we'll just identify it. We'll just
number and things like that. 22 give it a different exhibit number. Looks like

g Right. And then is this report, is this a3 it's got Gonzalez's signature at the bottom. It’s
all typed into a computer? 24 also called the Warcotics Section Supplementary

 

 

 

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ee ace sa een 4 Page a8 een Saat eataaten Page 90
Report. We'll ca}l it Exhibit 3 to this 1 08/03/2011,}
deposition. 2 BY MR. FOX:
And am I correct that this is 3 Q Okay. i'm going to show you what we'll
something that Officer Gonzalez wrote? 4 mark as Exhibit 5, and this appears toa be some sort
AB Correct. 5 of log of the 1505 funds.
Q Okay. And we know that because his 6 And can you tell me exactly what cthig
signature is on the bottom left of the first page? 7 document is?
A Yes. 8 A It's a 1505 prerecorded funds sheet.
9 All right. Have you ever reviewed this 3 Q And then these funds that there's a box
report? 19 around, these are the funds that -- the two five
A I probably have briefly. 11 dollar bills that you used in this case; can you
oO Okay, All right. But this -- well, let 12 tell?
me ask you about this. 13 A ¥es,
It lists -- on the second page it 14 a All right. And then where it says
lists the evidence officer as a PO dG. Houffman, 15 original date 9/25/2008; do you see that?
H-o-u-f-f-m-a-n. De you know if that's the same -- 16 A Uh-huh.
A It's @ typographical error. 17 2 What does that date refer to?
Q It's the same Hoffman? 18 A I’m not sure.
BK Same Hoffman, yes. 19 a Where it has person's name there’s a
MR. FOX: All right. So we'll just mark 20 number 209. What does that refer to?
this report Exhibit 3. 21 A I'm not sure. This is something the
(Whereupon the document was 22 bursary puts on these sheets.
marked Harris Exhibit No. 3 for 23 o Okay. Do you -- there's something that
identification as of 24 Says -- there's an inventory number at the bottom,
a (a
Shee Rene team ge0Q/2011 Page 39 Scar Kein Haris Be03/2014 Page 91
98/03/2011.) 1 do you see that, and then there's a K. Harris with
BY MR. POX: a locks like your star number at the bottom; is that
Q Okay. I'm going to show you another 3 right?
document which is called a Raid Activity Summary 4 BK Yes.
Report. We'll call this Exhibit 4. 5 Q Do you know whose handwriting that is?
Okay. Do you know who authored this § A That's mine.
report? 7 Qo All right. When did you -- when did you
A It says Shaar. 8 | write that in there?
Q Okay. Have you reviewed this report 3 AB I put on here 17 March, so that's
before? 14g probably the day that I tock that money out,
A No. al 9 Okay. And would this be the day that you
9 Okay. Do you know why he wrote that 12 took all the funds out that are Listed on this
there was a gang affiliation here of the Black 13 sheet of paper?
P-Stone? 14 BR Yes.
A I'm not sure, They could have possibly 15 MR. FOX: All right.
looked it up in a gang database or -- and his name 16 (Whereupon the decument was
came up with that. I'm not sure, though. 1? marked Harris Exhibit No. 6 for
9 Okay - 18 identification as of
A If I'm not mistaken, I believe he did 19 08/03/2011.)
have a gang tattoo on his arm. 20 BY MR, FOK:
MR. FOX: Okay, All right. 21 Q So Exhibit 6, then, is the inventory
(Whereupon the decument was 22 report for the prerecorded money; is that right?
marked Harris Exhibit No. 5 for 23 A Correct .
identification ag of 24 Q All right. And who filled our this

 

 

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Officer Keilh Harris - 08/03/2011 Page 92
inventory report?

A T did.

Q All right. Wext to the -- in the hox
where you have -- on that where it has recovered
from and then you have your own name in there?

A Uh-huh.

Q And why is that?

A Because I'm the one who's generating the
report. That's just boxes that has to be filled
out when we do these type of reports.

go Okay. But the money wasn’t recovered at
ali?

BR Wo, at's not for money. This is the fund
sheet, We're not inventorying money at this point.
We're just inventorying this fund sheet and it’s
not for these -- dénomination of these bills or
anything. It's just showing that we have this
sheet.

° Okay. T[ got you.

Because you have the -- I’m just
trying to understand all this. You have the date?

A Uh-huh.

o When did you Fill this out, this exhibit?

A The fund sheet?

F
Reno vs. City of Chicago
Officer Keith Hams - 08/03/2011 Page 93

 

Q Not the fund sheet, the inventory report.

A 17 March. The date is on here. This is
the date that the report is generated. The fund
sheet is -- this is the same day that I take out

the money you de the inventory.

° Okay. And so thig is the inventory
sheet, though, that you're using for this -- you
used for this case?

A Yeah. For each case we have to attach an
inventory fund sheet, a prerecorded fund sheet, for
each narcotics purchase that we do.

a Uh-huh. Okay.

A And the inventory copy. We attach these
two copies to each case for that month.

2 Okay. All right. I got you.

I'm going to hand you something. It's
a@ handwritten document, and it's got a Bates stamp
on it that ends in a 78.

And do you know what this document is?

A It's a contact analysis report.
9 And what does that mean?
A This -- actually someone fills this out

showing the person that was arrested, all their

pertinent information, and it's 4 brief narrative

 

 

 

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Reno vs. City of Chicago

 

 

 

 

Officer Kallh Harms - 08/03/2041 Page 94
of what happened.

Q Okay.

A And the name --

Q Go ahead. I'm sorry.

A This is just for the person that's
arrested only we fill these -- these get filled out
for that person. If there's an arrestee, one of
those forms are filled out.

Q Okay. And here it notes that he has a
tattoo of a pyramid on his arm, on his forearm?

A Uh-huh.

e Is that something that you associate with
@ gang?

AB Yes.

Q And then the nickname Tubbs, do you know
where that came from or how that information was
obtained?

A I'm not sure.

o Was this Shaar that filled out this
report?

A Yes, this ig Shaar. Yas.

MR. POR: All right. All right. So
we'll call this Exhibit 7.
if"
Reno vs. Clty of Chicago
Officer Keith Ham's - 08/03/2011 Page 95.

 

(Whereupon the document was
marked Harris Exhibit No. 7 for
identification as of
og/03/2011.}
BY MR. FOX:
2 Okay. And then I‘m going to shew you
what we'll mark as Exhibit 8. It's called a
Chicago Police Department Debriefing Report.
AB Okay.
Q And for the record it has a Bates stamp
that ends in a 79 on the first of two pages and 380
on the second page.

Do you know who filled this report

Out?

A It says Shaar.

Q All right. And Hoffman?

A And Hoffman, yes.

9g All right. And then have you ever filled
out a form like this?

A I have -- at some point in time I have.

Qo What are they used for?

A That's when you interview the person

that's been locked up.

Q Okay. And then when you interview a

 

 

 

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Officer Kelth Hara - 08/03/2011 Page 98

 

person that's locked up, one of your goals is to
try and perhaps get other information about other
dealers and things of that nature?

A I think they're looking for -- it has a
list of different things that they ask about.

Q Uh-huh. And that's the things you ask

about?
A Yes,
MR. FOX: All right.

{Whereupon the document was
marked Harris Exhibit No. 8 for
identification as of
08/03/2911.)

BY MR. FOX:

o And the next one will be Exhibit 9, which
is the lab report.

A Oh-huh.

9 And it’s got a Bates stamp of 81 on it.

When you got -- this lab reporc

indicates an item submitted of less than .1 gram of
chunky substance from one item it says. When you
guys submit the evidence to the lab, do you give
them all the evidence that you recovered?

A Yes.

 

 

 

Rene vs City of Chicago
Officer Keith Haris - 06/03/2011 Page 97

 

Q Okay. So do you know why it was that
they have less than .1 gram and you guys said it
was .2 grams?

A Well, co my knowledge, first, it could he
two things. First of all, when we use our
estimated chart, that's what's on that generic
estimated chart. Since we're net chemists, we have
that chart to go by. Once it goes to the lab, to
my knowledge they test a portion of that and make
gure it's positive for whatever controlled
substance it is.

Q Okay. Sometimes don’t they indicate,
though -- when they don't test an item they
indicate they have it but they didn't test it?

A Not to my knowledge. It's either
negative or positive for their findings.

MR. FOX: Okay. All right. We can mark

that .
{Whereupon the document was
marked Harris Exhibit No. $ for
identification as of
08/03/2011.)
BY MR. FOK:
Q As far as you were concerned, though, and

 

 

 

 

 

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Reno vs, City of Chicago
Officer Kaith Haris - 06/03/2011 Page 35

 

your understanding was you guys would have
submitted all the -- to the lab all the narcotics
that you recovered?

A Yeah. It all goes toe the lab, directly
to the lah.

Q All right. And then I'm going to show
you what we'll mark as Exhibit 10, which is -- it’s
called Evidence of Purchase/Official Advance Funds,
and is this something that you wrote?

A Yes.

Q Okay. And you would have -- you wrote --
you would have written this on March 28th?

A Yes.

o Okay. When would you have written this,
on the same day as you wrete your other report or a
different day?

A On the same day generally.

2 Okay.

A And sometimes it may be a Gay out.
There's not a particular time. As long as you're
able ta account for the money that you've lost, and
all we do if we don't do it that same day we refer
back to the date of that report and write the

information from that date on there.

 

 

 

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Reno vs. City of Chicaga
Officer Kelth Maris - 06/03/2044 Page 99

 

o Okay. And this is just -- and the
purpose of this document is what?
A To show that we lost the money that we
spent. It didn't get recovered.
MR. FOX; All right. I'm going to take a
break. I don’¢ have that much more.
THE WITNESS: I'm fine.
MR, FOX: All right.
(Whereupon the document was
marked Harris Exhibit Ne. 1¢
for identification as of
08/03/2011.)
(Recess. }
MR, FOX: I just have a little bit more.
THE WITNESS: Okeydoke.
BY MR. FOX:
9 At any time that day did you call dispatch
for any reason in connection with Michael Reno?
A No.

Q Okay. At any time that day did you

 

 

 

eall -- did you make a LEADS inquiry in connection
with him?
A No.
9 Or a CLEAR check in connection with him?
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Reno vs. City of Chicago

 

Officer Keith Maris - 08/03/2011 Page 106
AB (Witness shakes head).
2 Tg that a no?
A Wo. Wo. I'm sorry.

Q All right. And then did you -~- during
your contact with -- your visual contact or verbal
contact with Reno did you form the opinion that he
was under the influence of anything?

A No.

Q Okay. And did you ever go back to that
store after the arrest was made where -~ the store
in front of which the transaction occurred?

A No.

9 Did you ever do any follow-up
investigation in connection with the arrest of
Reno?

A Wo.

Qo And then T want to show you -- Look at
what was marked as Exhibit 10.

A Un-huh.

o Agein, under the inventory number you
have the property inventory number. There you

wrote it as 84, the last two numbers; do you see

 

 

 

 

that?
A Uh-huh.
—
(a
Reno vs. City of Chicago.
Officer Keith Haris - 08/03/2011 Page 104
G And on the property report -- [I mean on

the computer-generated report we locked up hefore

it was 897
A Right.
Q Do you know why it is that there was --

you had it differently on those two reports?
A You know, like I said, it could have been

the way someone wrote it, whoever wrote it, it got

misinterpreted, mistaken for a nine instead of a four.

Q Well, would you have gotten the report --
the inventery number from any different source for
this -- for the report you wrote on Exhibit 210 as
opposed to the earlier one?

A You know what? I probably would have --
at that time everything was all over. I
probably -- because this is like one of the last
things you do.

Qo Uh-huh.

A And I probably had viewed the actual
inventory report and not realized that the wrong
number was on the other report, 50...

Q Okay. Well, why would you look at the
actual inventory report?

A The closest piece of paperwork to me.

 

 

 

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Reno vs. City of Chicago

‘Officar Kalth Harris - 08/03/2011 Page 102

 

Say, hey, what's the inventory number and somebody
might hand it to me. That's the only thing I can

think of as far as that.

Q But you're not sure ag you sit here or
you are?

A Say it again?

Q Do you actually remember Jooking at the

actual inventory report?

A I don't recall,

Qo All right. Like and, for example, where
you have on this Exhibit 10 reported under raid

number you have a number lisced there; do you see

that?
A Uh-huh.
9 The 189-09; do you see that?
A Yes.
a Is that one of the numbers that would

also be written on chat scratch sheet?

A Yes.

Q All right. And then -- okay. And to
your knowledge, was the 1505 funds you used to
purchase drugs from Reno ever recovered at any time

after that day?

 

 

 

 

A No.
{a
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Officer Keith Hands - OB/O3/2041 Page 103
Q And were you aware -- just a few more

random questions here.
Were you aware of whether or not any
photos were taken of Reno while he was on the

street before you got there that day?

A No.

Q Were you aware of any video of him doing
anything?

A No.

Q As part of -- does your team ever use

photos or video to record narecetic transactions of
people on the street as they're actually doing them?

A During long-term investigations. Ongoing
investigations, I should say.

MR. FOX: All right. i have nothing

further .

MS. BENSON; Okay. We'll reserve
signature.

MR. FOX: All right. Thank you, You're
done .

{Whereupon the deposition was

concluded at 3:08 p.m.}

 

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

MICHAEL RENO, }

Plaintiff, }
vs. 2 No. 10 Cv 06124

City of Chicago Police Officer }

KEITH HARRIS, Star #19542, }

City of Chicago Police Officer )

JEROME HOFFMAN, Star #19110, )

City of Chicago Police Officer }

SHAARR, City of Chicago Police )

Officer NELSON GONZALEZ, Star }

#7235, and the CITY oF }
CHICAGO, }
Defendants. }

T, OFFICER KEITH HARRIS, state that I
have read the foregoing transcript of the testimony

given by me at my deposition on August 3, 2011, and

 

 

 

Reno vs. City of Chicago
Officer Xeith Haris - 08/03/2014

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that said transcript constitutes a true and correct
record of the testimony given by me at said
deposition except as I have so indicated on the

errata sheets provided herein.

 

OFFICER KEITH HARRIS

No corrections (Flease initial)

Number of errata sheets submitted (pgs)

SUBSCRIBED AND SWORN TO
before me this day

of , 2012.

NOTARY PUBLIC

 

 

 

 

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igo
Gficer Kelth Hans - 08/03/2044 Page 106

 

STATE OF ILLINOIS }
) ss.
COUNTY OF KANE }

I, JUNE M. FUNKEOUSER, CSR, RMR, and
Notary Public in and for the County of Kane, State
of Illinois, do hereby certify that previous to the
commencement of the examination, said witness was
duly sworn by me to testify the truth; that the
said deposition was taken at the time and place
aforesaid; that the testimony given by said witness
was reduced to writing by means of sherthand and
thereafter transcribed into typewritten form; and
that the foregoing is a true, correct, and complete
transeript of my shorthand notes so taken a3
aforesaid.

I further certify that there were present
at the taking of the said deposition the persons
and parties ag indicated on the appearance page
made a part of this deposition.

I further certify that I am not counsel
for nor in any way related to any of the parties to
this suit, nor am I in any way interested in the

outcome thereof.

 

 

 

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Officer Kaith Harris - 08/03/2011 Page 107

 

I further certify that this certificate
applies to the original signed and certified
transeripte only. I assume no responsibility for
the accuracy of any reproduced copies not made
under my control or direction.

IN TESTIMONY WHEREOF I have hereunto set
my hand and affixed my notarial seal this 14th day

of January, 2012.

June M. Funkhouser, CSR, RMR

Illinois CSR No. 084-003024

My Commission Expires

November 1, 2013.

 

 

 
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Errata Sheet

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Reason Codes:

DATE OF DEPOSITION: 08/03/2011

1. To clarify the record.

2, To conform to the facts.

Chicago

NAME OF WITNESS: Officer Keith Harris

3. To correct transcription errors.

 

 

 

 

 

 

 

 

 

 

 

 

   
 

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